

Matter of Matrix/PPF Staten Is. Lot 1, LLC v BKS-NY, LLC (2022 NY Slip Op 02797)





Matter of Matrix/PPF Staten Is. Lot 1, LLC v BKS-NY, LLC


2022 NY Slip Op 02797


Decided on April 27, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
VALERIE BRATHWAITE NELSON
ROBERT J. MILLER
PAUL WOOTEN, JJ.


2018-04847 
2018-07141
 (Index No. 85026/18)

[*1]In the Matter of Matrix/PPF Staten Island Lot 1, LLC, et al., petitioners-respondents,
vBKS-NY, LLC, appellant, et al., respondent.


Trenk, DiPasquale, Della Fera &amp; Sodono, P.C., New York, NY (Margreta M. Morgulas and Paul Hollander of counsel), for appellant.
Faegre Drinker Biddle &amp; Reath, LLP, New York, NY (Marsha J. Indych and Kenneth J. Wilbur, pro hac vice, of counsel), for petitioners-respondents.



DECISION &amp; ORDER
In a proceeding, inter alia, pursuant to Lien Law § 19(6) to summarily discharge certain mechanic's liens, BKS-NY, LLC, appeals from (1) an order of the Supreme Court, Richmond County (Orlando Marrazzo, Jr., J.), dated March 15, 2018, and (2) an order of the same court dated May 14, 2018. The order dated March 15, 2018, insofar as appealed from, granted those branches of the petition which were, in effect, (1) to summarily discharge a mechanic's lien dated January 2, 2018, and filed by BKS-NY, LLC, insofar as asserted against the petitioners, (2) to direct the Richmond County Clerk's Office to vacate and discharge that mechanic's lien insofar as asserted against the petitioners, and (3) for a determination that the amount claimed in that mechanic's lien was willfully exaggerated, and thereupon, for a hearing to determine the amount of damages sustained by the petitioners, inter alia, pursuant to Lien Law § 39-a. The order dated May 14, 2018, insofar as appealed from, granted those branches of the petition which were pursuant to Lien Law § 39 to vacate and discharge a mechanic's lien dated March 19, 2018, and filed by BKS-NY, LLC, and to direct the Richmond County Clerk's Office to vacate and discharge that mechanic's lien.
ORDERED that the order dated March 15, 2018, is reversed insofar as appealed from, on the law, and those branches of the petition which were, in effect, (1) to summarily discharge the mechanic's lien dated January 2, 2018, and filed by BKS-NY, LLC, insofar as asserted against the petitioners, (2) to direct the Richmond County Clerk's Office to vacate and discharge that lien insofar as asserted against the petitioners, and (3) for a determination that the amount claimed in that mechanic's lien was willfully exaggerated, and thereupon, for a hearing to determine the amount of damages sustained by the petitioners, inter alia, pursuant to Lien Law § 39-a, are denied; and it is further,
ORDERED that the order dated May 14, 2018, is reversed insofar as appealed from, on the law, and those branches of the petition which were pursuant to Lien Law § 39 to vacate and discharge the mechanic's lien dated March 19, 2018, and filed by BKS-NY, LLC, and to direct the Richmond County Clerk's Office to vacate and discharge that mechanic's lien, are denied; and it is further,
ORDERED that one bill of costs is awarded to the appellant.
We reverse the order dated March 15, 2018, insofar as appealed from, for the reasons stated in Matter of Matrix Staten Is. Dev., LLC v BKS-NY, LLC (___ AD3d ___ [Appellate Division Docket No. 2018-04840; decided herewith]). We reverse the order dated May 14, 2018, insofar as appealed from, for the reasons stated in Matter of Matrix Staten Is. Dev., LLC v BKS-NY, LLC (___ AD3d ___ [Appellate Division Docket No. 2018-07149; decided herewith]).
BARROS, J.P., BRATHWAITE NELSON, MILLER and WOOTEN, JJ., concur.

2018-04847 	DECISION &amp; ORDER ON MOTION
2018-07141
In the Matter of Matrix/PPF Staten Island
Lot 1, LLC, et al., petitioners-respondents,
v BKS-NY, LLC, appellant, et al., respondent.
(Index No. 85026/18)

Motion by the appellant, inter alia, to strike stated portions of the petitioners-respondents' brief on appeals from two orders of the Supreme Court, Richmond County, dated March 15, 2018, and May 14, 2018, respectively, on the ground that they contain matter dehors the record or improperly raise issues for the first time on appeal. By decision and order on motion of this Court dated December 18, 2018, that branch of the motion which is to strike stated portions of the petitioners-respondents' brief was held in abeyance and referred to the panel of Justices hearing the appeals for determination upon the argument or submission thereof.
Upon the papers filed in support of the motion and the papers filed in opposition thereto, and upon the argument of the appeals, it is
ORDERED that the branch of the motion which is to strike stated portions of the petitioners-respondents' brief is denied as academic.
BARROS, BRATHWAITE NELSON, MILLER and WOOTEN, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








